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       Exhibit 25
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                                   TYRONE A. BLACKBURN
                                              _____
                                          MEMBER OF
                                        NY, DC & NJ BAR
                                             ______
                                    FEDERAL MEMBERSHIP
                                   EDNY, NDNY, SDNY & DNJ
                                             ______
                                     90 Broad Street, 2nd Floor
                                       New York, NY 10004
                                                                               November 15, 2024

Sent via mail and email: djakes@tdjakes.org; riseww@cs.com; tjakes@tdjakes.com
Bishop, Thomas Dexter Jakes
8416 Meadowbrook Dr
Fort Worth, TX 76120-5202

                Appearance Letter, Preservation Notice, and Offer of Settlement

                                                                         Re: Duane Youngblood
Bishop Jakes,

My firm has been retained by Duane Youngblood (“Mr. Youngblood") regarding harm visited
upon him by Bishop Thomas Dexter Jakes (“Respondent”). The nature of Mr. Youngblood’s
concerns unwanted sexual assault and harassment. This letter is intentionally void of the graphic
details. The purpose of this letter is to encourage the parties to resolve this matter quickly and
privately. For settlement purposes only, the opening settlement demand is six million dollars.
The demand is negotiable.

Mr. Youngblood first learned of and was introduced to the Respondent as a young teenager. Mr.
Youngblood was raised in the church, and his family often visited Bishop Wade Jones' church.
Throughout Mr. Youngblood's teenage years, Respondent often visited Bishop Jones' church.
During one of those visits' Respondent began sexually assaulting and or harassing Mr.
Youngblood. Upon information and belief, Mr. Youngblood was between the ages of 17 and 19.

As Respondent's career took off, Mr. Youngblood's interactions with him decreased over time.
Mr. Youngblood was forced to interact with the Respondent with the encouragement and urging
of Dr. Sherman S. Watkins. Mr. Youngblood obliged, and he confronted Respondent about the
harm Respondent visited upon him. Respondent said, "At that time, my stock was rising, and I
would have slept with anyone.” After this distasteful confession, Mr. Youngblood was forced to
interact with respondents throughout the years due to their membership in the same organization.

Conclusion
Mr. Youngblood has authorized my office to make a pre-litigation settlement demand of six
million dollars ($6,000,000). This settlement will provide Mr. Youngblood with the necessary
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resources to help him pay for the psychological services he needs, as well as compensate him for
the physical trauma his teenage body endured. This demand is negotiable.

You have seven days from the date of this letter to accept this offer of private resolution. If we
do not hear from you by 11/23/24, we will view your silence as a rejection of this offer and
proceed to file suit without delay.

Although we hope this matter will be resolved privately, we must provide you with a preservation
notice.

Preservation Notice:
This matter may result in litigation between Mr. Youngblood and the Respondents. Therefore, we
are providing Respondent with this Preservation Notice. The term "you," "your," or "yours" as
used herein shall refer to you (the recipient of this letter), as well as to the respondents and any
individuals responsible for the custody and control of the below information, including, but not
limited to, those individuals' administrative assistants, secretaries, agents, employees, information
technology personnel and third-party vendors.

From this point forward, you are directed to prevent "spoliation," defined as altering, changing,
updating, destroying (even if periodically), editing, or deleting any information set forth hereafter.

If you cause any such alteration, destruction, change, direct, or allow it to occur, you may be
charged with discovery rule violations for which sanctions may be imposed. Further, your
failure to abide by this request could result in severe penalties against you and form the basis
of legal claims for spoliation.

Electronically Stored Information
In terms of electronically stored information, you are directed to prevent any destructive, alterative
or other change to any web pages, virtual profiles or identical (including, but not limited to,
Facebook, Instagram, Pinterest, Twitter, Tumblr, LinkedIn, Snapchat, Google Plus+, Flickr, Vine,
About.me, ask.fm etc., or any other social media-based web profile or networking site account),
emails, voice messages, text messages, instant messages or messaging systems, recordings, digital
recordings, media images and videos, temporary memory, memory sticks, portable memory
devices, laptops or computers, CDs, DVDs, USB devices, databases, computer activity logs,
internet browsing history (including cookies), network access and server activity logs, word
processing files and file fragments, backup and archival files, imaging and facsimile files,
electronic calendar and scheduling program files and file fragments as well as any other contact
and relationship management data (e.g., Outlook), electronic spreadsheet files and file fragments,
pertaining in any way to this controversy of the parties or any potential witnesses. This includes
a request that such information not be modified, altered, or deleted due to data compression or disk
fragmentation (or other optimization procedures), which processes you are hereby directed to
suspend until that data can be preserved, copied, and produced.
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